     Case 4:16-cv-02960 Document 78 Filed on 05/23/18 in TXSD Page 1 of 2




                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


RAYANNE REGMUND, et al.


                     Plaintiffs,                     CIVIL ACTION NO. 4:16-cv-02960

v.

TALISMAN ENERGY USA, INC.

                     Defendant.

        SUPPLEMENTAL DECLARATION OF WAYMAN T. GORE, JR., P.E.


1.    My name is Wayman T. Gore, Jr., P.E. I am of the age of majority and competent to make
      this declaration. This is a supplement to my declaration of March 27, 2018.

2.    As stated before, I am a petroleum engineer and principal in the firm of PGH Petroleum &
      Environmental Engineers, LLC, in Austin Texas. I am also a licensed professional
      engineer in the State of Texas. Among other things, I provide consulting petroleum
      engineering services for oil and gas producers operating in Texas, including consulting
      services in connection with Railroad Commission of Texas (“RRC”) filings, administrative
      applications and hearing testimony before the Commission on behalf of my clients. I have
      regularly practiced before the RRC for the last 34 years. A copy of my resume and
      representative experience was attached as Exhibit A & B to my original declaration.

3.    I have reviewed the Declaration of Peter D. Huddleston of May 8, 2018.

4.    I disagree with his statement in paragraph 12 that the use of centralized treatment facilities
      to commingle production of different ownerships and different well compositions is
      “extremely rare.” In my experience with the RRC and with oil and gas production in South
      Texas, commingling of differently owned tracts and wells of different compositions, using
      centralized storage and treatment facilities is common, including for production in the
      Eagle Ford trend.

5.    Likewise, the allocation of commingled production from wells with different ownerships
      is common in Texas and is the standard responsibility of the production accounting
      departments of producers who operate in Texas.

6.    The RRC regulations, policies, and P-17 permit procedures specifically contemplate the
      commingling of production from wells and tracts with different ownership interests, and


                                                1
      Case 4:16-cv-02960 Document 78 Filed on 05/23/18 in TXSD Page 2 of 2




         the permits are set up for that purpose to recognize and allow for commingling of
         differently owned wells and tracts.

7.       I further disagree with Mr. Huddleston’s statement in paragraph 13 that Talisman should
         have filed its “allocation methodology” with the RRC for approval. The RRC rules and P-
         17 instructions do not require filing and approval of any particular allocation methodology
         if the wells at issue are separately metered, as indicated in the check box Section 4(a) of
         the P-17 form. This is true even if the wells and tracts have different ownership interests.
         I have confirmed the accuracy of my conclusion by discussing this matter both with former
         and current managers in the RRC departments that handle proration and production filings,
         including P-17 permits, who confirm that filing and approval of allocation methods is not
         required for separately metered wells.


I hereby declare this statement to be true and correct under penalty of perjury on the date indicated

below:




                                               Wayman T. Gore, Jr., P.E.
                                               Engineering License No. 56682
                                               PGH Petroleum & Environmental Engineers, LLC
                                               Registered Engineering Firm F-9137



                                               Date: May 22, 2018




                                                  2
